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                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION


 John Scatchell, Sr., John Scatchell, Jr.       )
                                                )
               Plaintiffs,                      )              Case No.: 2018-CV-03989
                                                )
 v.                                             )              Judge Charles R. Norgle, Sr.
                                                )
 Village of Melrose Park, an Illinois Municipal )              Magistrate Judge Michael T.
 Corporation; Ronald M. Serpico; Sam Pitassi; )                Mason
 Michael Castellan; Steven Rogowski; Board )
 Of Fire and Police Commissioners of Melrose )
 Park, Illinois,                                )
                                                )

              Defendants.
                                                               Jury Trial Demanded


                                   NOTICE OF MOTION

TO:     Jeffrey Fowler         jfowler@lanermuchin.com
        K. Austin Zimmer       zimmer@dlglawgroup.com
        Cynthia Grandfield     grandfield@dlglawgroup.com
        Timothy Woerner        woerner@dlglawgroup.com
        Michael Bersani        mbersani@hcbattorneys.com

        PLEASE TAKE NOTICE THAT ON February 1, 2019 at 10:30 a.m., I shall appear
before the Honorable Judge Charles R. Norgle, Sr., Courtroom 2341, Everett McKinley
Dirksen Federal Courthouse, 219 South Dearborn Street, Chicago, Illinois 60604 and present
the attached Plaintiff’s Motion for Leave to File First Amended Complaint and for Leave to
File Additional Appearance of Cass T. Casper, Esq. in the above-captioned matter. A copy
is included herewith.

                                                    Respectfully submitted,

                                                    JOHN SCATCHELL, SR.

                                                    s/Gianna Scatchell

                                                    Plaintiffs’ Attorney
                                                    Electronically filed on January 23, 2019


                                                                              Gianna R. Scatchell
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                                                    LAW OFFICES OF GIANNA SCATCHELL
                                                                     Attorney for Plaintiffs
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                                                                    Chicago, Illinois 60654
                                                                           (312) 248-3303
                                                                           gia@lawfirm.gs

                               CERTIFICATE OF SERVICE

   The undersigned, an attorney, hereby certifies that the foregoing document and all attachments
and supplements thereto were served upon counsel for Defendants noted below via this Court’s
CM/ECF filing system, and that such counsels are registered e-filers.

Jeffrey Fowler        jfowler@lanermuchin.com
K. Austin Zimmer      zimmer@dlglawgroup.com
Cynthia Grandfield    grandfield@dlglawgroup.com
Timothy Woerner       woerner@dlglawgroup.com
Michael Bersani       mbersani@hcbattorneys.com


                                             s/Gianna Scatchell

                                            Electronically filed on January 23, 2019




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